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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
 J.G.G., et al.,                             )       Civil Action No. 1:25-cv-00766
                                             )
               Plaintiffs-Petitioners,       )
                                             )
 v.                                          )
                                             )
 DONALD J. TRUMP, in his official            )
 capacity as President of the United States, )
 et al.,                                     )
                                             )
               Defendants-Respondents.       )
                                             )

                                           NOTICE

        The attached declaration is being submitted in response to the Court’s order dated March

20, 2025, ECF No. 47.


                                                     Respectfully Submitted,

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